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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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FRANCISCO DELTORO,

Plaintiff,

NOVUS EQUITIES, LLC,

Defendant.

Civil Action No.: 20/1002 (NS)

NOTICE OF MOTION ON BEHALF OF
DEFENDANT TO DISMISS PLAINTIFEF’S
COMPLAINT, OR IN THE
ALTERNATIVE, TO TRANSFER VENUE
TO THE DISTRICT COURT OF
NEW JERSEY

 

ELECTRONICALLY FILED DOCUMENT

 

PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law and

Declaration, Defendant Novus Equities, LLC, by its undersigned counsel Klingeman Cerimele,

Attorneys, will move this Court, located at 500 Pearl Street, New York, NY 10007, ona date and

time to be set by the Court, for an Order pursuant to Federal Rules of Civil Procedure 12(b)(6),

12(b)(1), 12(b)(2), and 12(b)(3), dismissing the Complaint against Novus Equities, LLC, or in the

alternative, for an Order pursuant to 28 U.S.C. § 1406 (a) or 28 U.S.C. § 1404 (a) transferring this

action to the United States District Court for the District of New Jersey, and granting such other

and further relief as the Court may deem appropriate.

gpa

 

Dated: February 7, 2020
Newark, New Jersey

Respectfully submitted,

/s/ Henry E. Klingeman

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Attorneys for defendant Novus Equities, LLC

Defendant's Motion to Dismiss is Denied without prejudice for failure
to follow my Individual Practices. See Sec. 3.A.ii. The Clerk of
Court requested to terminate the motion (doc. 3),

Dated: Feb. 13, 2020 SO ORDERED.

 
 

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Nelson S. Roman, U.S.D.J.

 
